    Case 2:10-md-02179-CJB-DPC Document 273-1 Filed 09/17/10 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

                                              )
JACOB KANSAS, individually and on behalf )                C.A. No. 2:10-MD-2179
of all others similarly situated,             )                      c/w 2:10-CV-1836
                                              )
                                   Plaintiffs )           Judge Barbier
                                              )
                         v.                   )           Mag. Judge Shushan
                                              )
TRANSOCEAN LTD, ET AL                         )           CLASS ACTION COMPLAINT
                                              )
                                  Defendants )
                                              )


                                            ORDER

       The foregoing motion considered:

       IT IS ORDERED that Walter J. Leger, Jr. (Bar #8278), Franklin G. Shaw (Bar # 1594),

Walter J. Leger, III (Bar # 28656) and Christine E. Sevin (Bar #32683) of the firm Leger &

Shaw, 600 Carondelet Street, 9th Floor, New Orleans, Louisiana, 70130, be and is hereby

enrolled as lead counsel of record for plaintiffs, JACOB KANSAS, individually and on behalf

of all others similarly situated. in these proceedings.

       New Orleans, Louisiana, this ________ day of _____________________, 2010.


                                                      ___________________________________
                                                      DISTRICT COURT JUDGE
